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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.1.1
                                Eastern Division

Rosalinda Ortiz
                                    Plaintiff,
v.                                                   Case No.: 1:10−cv−03189
                                                     Honorable Harry D. Leinenweber
NCO Financial Systems, Inc.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 26, 2010:


        MINUTE entry before Honorable Harry D. Leinenweber:Pursuant to the
Stipulation, this case is dismissed with prejudice and without costs. Status hearing
stricken.Civil case terminated. Mailed notice(wp, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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